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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 vs.                                            §                     2:99CR00003-009
                                                §
 DAVID WAYNE CARLISLE                           §


                                     MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to United States

 Magistrate Judge Chad Everingham pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge

 which contains his proposed findings of fact and recommendations for the disposition of such action

 has been presented for consideration. No objections were filed to the Report and Recommendation.

 The court is of the opinion that the findings and conclusions of the Magistrate Judge are correct.

 Therefore, the court hereby adopts the report of the United States Magistrate Judge as the findings

 and conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s plea of true to the first and second allegations as set forth

 in the government’s petition be ACCEPTED. It is further

        ORDERED that the defendant’s supervised release be REVOKED. Based upon the

 defendant’s plea of true to the allegations, the court finds the defendant violated his conditions of

 supervised release. It is further

        ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of twelve (12) months and one (1) day, consecutive to the term of

 imprisonment the defendant is currently serving in Harrison County Case Number 06-0542X, with

 no term of supervised release to follow such term of imprisonment. It is further
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        REQUESTED that the Bureau of Prisons enter the defendant into the most intensive drug

 treatment program that it can accommodate.

        SIGNED this 28th day of June, 2007.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE




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